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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                               03-CR-08(02)(JMR/FLN)
                                  06-CV-5020(JMR)



United States of America                  )
                                          )          ORDER
           v.                             )
                                          )
Timothy James Schultz                     )




      Petitioner, Timothy James Schultz, seeks habeas corpus relief,

pursuant to 28 U.S.C. § 2255.             His petition is denied.

I.   Background

      Petitioner and co-defendant, Peter George Noe, headed a major

methamphetamine            distribution       conspiracy,      victimizing          and

terrorizing Austin, Minnesota.                Petitioner helped maintain the

conspiracy by using sadistic violence.                      For example, on one

occasion, in order to collect a $10,000 debt, he used a pair of

pliers to break off two of the debtor’s teeth and extract another,

after which he reduced the debt by 50%.

      After         an   extensive    investigation,    a    federal    grand      jury

returned        a    two-count       indictment,    charging     petitioner        with

conspiracy to distribute methamphetamine, and possession with

intent to distribute approximately one pound of methamphetamine, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(A), and §§ 841(a)(1)

and 841(b)(1)(B).
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      Trial commenced on June 2, 2003.              On June 9, 2003, a jury

convicted petitioner on both counts.             He was sentenced on October

30, 2003, to 480 months imprisonment, and 5 years supervised

release.     On July 21, 2005, the Eighth Circuit Court of Appeals

affirmed petitioner’s conviction and sentence on direct appeal.

United States v. Noe, 411 F.3d 878 (8th Cir. 2005).

      Petitioner now seeks habeas corpus relief, contending the

Court lacked jurisdiction over him and this case.                        According to

petitioner, Public Law 80-772 and 18 U.S.C. § 3231, which confer

criminal jurisdiction upon federal district courts, were never

enacted into positive law, are unconstitutional on their face, and

are void ab initio.        Petitioner next claims Public Law 80-773,

which formed the basis for the codification of the habeas corpus

statutes,    and   therefore   28     U.S.C.      §§    2255       and     2241,    are

unconstitutional and void.         He further claims the drug statutes,

under which he was convicted, are invalid because they were either

repealed or enacted without a valid enactment clause.

      Petitioner continues his fusillade attack, contending the

government failed to establish that the crimes with which he was

charged were committed in the District of Minnesota.                       He finally

claims     his   defense   counsel    was       ineffective        in     failing   to

investigate the Court’s jurisdiction and the legal basis for his

indictment and convictions.        The petition fails on all counts.

II.   Discussion

      Petitioner seeks relief under 28 U.S.C. § 2255, “the statutory
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analogue of habeas corpus for persons in federal custody.”                    Poor

Thunder v. United States, 810 F.2d 817, 821 (8th Cir. 1987).                  This

statute offers a remedy to “a narrow range of injuries that could

not have been raised for the first time on direct appeal and, if

uncorrected, would result in a complete miscarriage of justice.”

United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996).                   A §

2255 petition is not a substitute for direct appeal.             Thus, claims

which could have been raised on direct appeal are procedurally

barred. Dejan v. United States, 208 F.3d 682, 685 (8th Cir. 2000).

If a petitioner is to avoid this procedural default, he must “show

both (1) a cause that excuses the default, and (2) actual prejudice

from the errors that are asserted.” Matthews v. United States, 114

F.3d 113, 113 (8th Cir. 1997).

     Here, all of petitioner’s claims, except, perhaps, the claim

of ineffective assistance of counsel, could have been raised on

direct appeal.    None were.      His claims are not based on either

newly discovered facts or a recent change in the law.                The Court

finds petitioner has failed to demonstrate any cause for his

procedural default. Beyond this, petitioner has failed to show any

actual prejudice, because each of his substantive claims are

without merit.   Accordingly, petitioner’s claims are procedurally

barred.   The    ineffective     assistance    claim    fails    because       his

asserted representational defects are chimerical. Notwithstanding

the procedural defects in petitioner’s claims, the Court considers

each below.
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       A.   Jurisdictional Claims

       Petitioner’s first and fourth contentions claim the Court is

without jurisdiction, because 18 U.S.C. § 3231 was never enacted

into positive law, and is therefore unconstitutional and void.

This is one of the jailhouse lawyers’ arguments du jour.                    It has

never been accepted, and will not be accepted here.                     See e.g.,

United States v. Hoskins, 2006 WL 1044269, at *5 (E.D. Ky. Apr. 19,

2006) (unreported). In short, the annotated version of the statute

reflects an effective date of June 25, 1948; President Truman

signed the bill into law that same day.               “[I]t is clear that 18

U.S.C. § 3231 gives the federal courts original and exclusive

jurisdiction over federal crimes.” United States v. Casey, 2005 WL

2114059,     at   *2   (W.D.     Tenn.    Aug.    30,    2005)     (unreported).

Petitioner’s argument concerning 18 U.S.C. § 3231 wholly fails to

show his conviction is “void ab initio.” This claim affords him no

relief.

       Similarly, petitioner’s denial that 28 U.S.C. § 2255 was

enacted into positive law, is unconstitutional on its face, and

void ab initio, is insubstantial. Petitioner is not imprisoned for

a violation of § 2255.      As a result, the validity or invalidity of

that    statute   affords   no    basis    upon    which     to    challenge     his

conviction or sentence.        Moreover, the United States Supreme Court

has clearly upheld the validity of the habeas corpus statutes.

Felker v. Turpin, 518 U.S. 651, 664 (1996).

       Petitioner next denies the validity of 21 U.S.C. §§ 841 and
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846, the drug statutes under which he was convicted.                      He contends

the penalty statute was repealed or enacted without a valid

enactment clause.       While the Eighth Circuit has not reached this

issue, the Sixth and Tenth Circuits have rejected similar claims.

The Sixth Circuit found “Congress’s failure to approve the specific

placement    of    Title    21   does    not    affect    the    validity        of    the

underlying legislation.”         Goldsby v. United States, 152 Fed. Appx.

431, 441 (6th Cir. 2005) (unpublished).                  The Tenth Circuit found

the mere “fact that Title 21 has not yet been revised, codified,

and enacted into positive law in accordance with the legislative

agenda noted in the preface to the United States Code does not

render the substantive law it records a nullity.” Wilson v. United

States,     1991   WL   216477     at    *1     (10th    Cir.     Oct.     23,    1991)

(unpublished) (quotations omitted).                The Court is confident the

Eighth Circuit will follow its sisters.

     Petitioner’s       fifth    claim    alleges       “[t]he   Court     failed       to

establish that the crimes were committed in the District of Montana

[sic] when the Court failed to instruct the jury they must find the

locus delicti of the crimes charged.”              The Supreme Court has held

that the “locus delicti of the charged offense must be determined

from the nature of the crime alleged and the location of the act or

acts constituting it.” United States v. Rodriguez-Moreno, 526 U.S.

275, 279 (1999) (quotations omitted).              These events took place in

Austin, Minnesota.         The   vicious       assault    on     the     debtor       took

place in Minnesota.        The venue of this crime was proven far beyond
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a reasonable doubt.       This challenge is meritless.1

       Schultz’s sixth claim is a general attack on this Court’s

jurisdiction.     The Eighth Circuit has repeatedly rejected similar

claims. See, e.g. United States v. Mooring, 287 F.3d 725, 727 (8th

Cir. 2002) (“[A] federal district court plainly possesses subject-

matter jurisdiction over drug cases.”); United States v. Deering,

179 F.3d 592, 597 (8th Cir. 1999).          The Court needs say no more.

       B.   Ineffective Representation

       Finally, petitioner claims his counsel was ineffective in

failing to raise the six issues addressed above.                   Ineffective

assistance of counsel claims are analyzed under the Strickland v.

Washington, 466 U.S. 668 (1984), two-part test.                  In order to

prevail,     petitioner     must    show:       first,     “that     counsel’s

representation fell below an objective standard of reasonableness,”

id. at 688; and second, “but for counsel’s unprofessional errors,

the result of the proceeding would have been different.”                 Id. at

694.

       After analysis, it is clear petitioner has failed to show any

instance of ineffective representation.            He argues his attorney

should have advanced a number of claims, but as seen above, each is

trivial, non-existent, or spurious. Because petitioner’s suggested

issues are without merit, defense counsel’s failure to raise them

       1
      The petition’s reference to “Montana” strongly suggests this
“claim” was simply part of a cut-and-paste effort to replicate a
habeas claim made in another matter. It is almost ludicrous to
suggest an absence of a Minnesota nexus in this case.
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was not unreasonable. See Clemons v. Armontrout, 921 F.2d 187, 191

(8th Cir. 1990).

       Even if counsel had raised each issue petitioner now suggests,

those arguments would have been futile and summarily denied.

Petitioner is, therefore, unable to show any prejudice.                  Because

claims of ineffective assistance cannot be based on a failure to

raise losing arguments, petitioner’s claims clearly fail.                 Id.

III.    Certificate of Appealability

       The Court has also considered whether it is appropriate to

issue a Certificate of Appealability (“COA”).                See Tiedeman v.

Benson, 122 F.3d 518 (8th Cir. 1997).          The Court concludes that no

issue raised is “debatable among reasonable jurists.”               Flieger v.

Delo, 16 F.3d 878, 883 (8th Cir. 1994) (citing Lozada v. Deeds, 498

U.S. 430, 432 (1991)).      Petitioner has failed, therefore, to make

the    requisite    “substantial     showing     of    the      denial    of    a

constitutional right” necessary for issuance of a COA.               28 U.S.C.

§ 2253(c)(2).

IV.    Conclusion

       Accordingly, IT IS ORDERED that:

       1.   Petitioner’s motion for relief pursuant to § 2255 [Docket

No. 266] is denied.

       2.   No Certificate of Appealability will be issued.




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     LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated:   September 21st, 2007




                                   s/ James M. Rosenbaum
                                 JAMES M. ROSENBAUM
                                 United States Chief District Judge




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